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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 DE SHAWN DRUMGO,


                            Plaintiff,

                  V.                          Civil Action No. 14-1135-CFC

 SGT. WILLIAM KUSCHEL


                          Defendant.


                                     ORDER

      At Wilmington this Twenty-fourth day of August in 2022:

      For the reasons set forth in the Memorandum Opinion issued this day, IT IS

HEREBY ORDERED that Defendant William Kuschel's Renewed Motion for

Judgment as a Matter of Law and to Alter or Amend Judgment, or in the

Alternative, for a New Trial (D.I. 217) is DENIED insofar as it seeks a new trial

and GRANTED insofar as it seeks to amend the judgment. IT IS FURTHER

ORDERED that the jury' s punitive damages award of $500,000 is reduced to

$5 ,000.
